                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                            CEDAR RAPIDS DIVISION


 UNITED STATES OF AMERICA,
               Plaintiff,                                  No. CR06-0055-LRR
 vs.
                                                        PRELIMINARY ORDER
 RONDESHA NNEKA ROUNDTREE,
               Defendant.

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       This matter comes before the court on its own motion. In relevant part, 18 U.S.C. §
3582(c) provides:
             The court may not modify a term of imprisonment once it has
             been imposed except that . . . in the case of a defendant who has
             been sentenced to a term of imprisonment based on a sentencing
             range that has subsequently been lowered by the Sentencing
             Commission pursuant to 28 U.S.C. [§] 994(o), upon motion of
             the defendant or the Director of the Bureau of Prisons, or on its
             own motion, the court may reduce the term of imprisonment,
             after considering the factors set forth in [18 U.S.C. §] 3553(a) to
             the extent that they are applicable, if such a reduction is
             consistent with applicable policy statements issued by the
             Sentencing Commission.
18 U.S.C. § 3582(c)(2); see also United States v. Auman, 8 F.3d 1268, 1271 (8th Cir. 1993)
(“Section 3582(c)(2) is a provision that permits a district court to reduce a term of
imprisonment if the sentencing range upon which the term was based is subsequently
lowered by the Sentencing Commission.”).
       On November 1, 2007, the Sentencing Commission issued Amendment 706, as
amended by Amendment 711, to USSG §2D1.1.                See generally USSG App. C at
www.ussc.gov. Amendment 706 generally reduces by two levels the offense level that is
applicable to cocaine base (“crack”) offenses. On December 11, 2007, the Sentencing

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Commission voted to apply Amendment 706 retroactively to crack offenses, and it set March
3, 2008 as the date that Amendment 706 could be applied retroactively. The Sentencing
Commission also promulgated amendments to USSG §1B1.10, which set forth the conditions
that must exist before a defendant is entitled to a sentence reduction as a result of an amended
guideline range. See generally USSG App. C at www.ussc.gov. New USSG §1B1.10 took
effect on March 3, 2008 and, in relevant part, states:
              In a case in which a defendant is serving a term of
              imprisonment, and the guideline range applicable to that
              defendant has subsequently been lowered as a result of an
              amendment to the Guidelines Manual listed in subsection (c)
              below, the court may reduce the defendant’s term of
              imprisonment as provided by 18 U.S.C. § 3582(c)(2). As
              required by 18 U.S.C. § 3582(c)(2), any such reduction in the
              defendant’s term of imprisonment shall be consistent with this
              policy statement.
USSG §1B1.10(a)(1); see also USSG §1B1.10, comment. (n.1) (“Eligibility for consideration
under 18 U.S.C. § 3582(c)(2) is triggered only by an amendment listed in subsection (c) that
lowers the applicable guideline range.”). The Sentencing Commission included Amendment
706 within subsection (c). USSG §1B1.10(c). Consequently, under 18 U.S.C. § 3582(c)(2)
and USSG §1B1.10, the court may rely on Amendment 706 to reduce the defendant’s
sentence.
       For the instant matter, the court does not intend to appoint counsel. See United States
v. Legree, 205 F.3d 724, 729-30 (4th Cir. 2000) (concluding that there is no right to
assistance of counsel when pursing relief under 18 U.S.C. § 3582(c)); United States v.
Tidwell, 178 F.3d 946, 949 (7th Cir. 1999) (same); United States v. Townsend, 98 F.3d 510,
512-13 (9th Cir. 1996) (same); United States v. Whitebird, 55 F.3d 1007, 1010-11 (5th Cir.
1995) (same); United States v. Reddick, 52 F.3d 462, 464 (2d Cir. 1995) (same). Further, the
court does not intend to conduct a hearing prior to granting a reduction based on Amendment
706. See Legree, 205 F.3d at 729-30 (finding that a judge need not hold a hearing on a
motion pursuant to 18 U.S.C. § 3582(c)); Restrepo-Contreras v. United States, No. 96-1411,
1996 WL 636560, *2, 1996 U.S. App. LEXIS 28844, at *5 (1st Cir. Nov. 4, 1996) (same);

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Townsend, 98 F.3d at 513 (concluding district court did not abuse its discretion when it did
not hold an evidentiary hearing); United States v. Dimeo, 28 F.3d 240, 241 n.3 (1st Cir. 1994)
(noting that the district court received no input from the parties and conducted no hearing
before reducing the defendant’s sentence under 18 U.S.C. § 3582(c)); see also Fed. R. Crim.
P. 43(b)(4) (stating that a defendant’s presence is not required in a proceeding that involves
the correction or reduction of a sentence under 18 U.S.C. § 3582(c)). Additionally, the court
concludes that United States v. Booker, 543 U.S. 220 (2005), does not apply to proceedings
under 18 U.S.C. § 3582(c)(2).
       At the court’s request, the United States Probation Office prepared a memorandum
that, among other things, addresses the defendant’s eligibility for a sentence reduction under
18 U.S.C. § 3582(c)(2) and calculates the defendant’s amended guideline range. The United
States Probation Office also provided the court with additional documents in support of its
memorandum. Those documents include, but are not limited to, the defendant’s pre-sentence
investigation report and the Bureau of Prison’s report on the defendant.
       Pursuant to 18 U.S.C. § 3582(c)(2) and USSG §1B1.10, the court concludes that the
defendant is entitled to a sentence reduction. See United States v. Wyatt, 115 F.3d 606, 608-
09 (8th Cir. 1997) (explaining requirements under 18 U.S.C. § 3582(c)(2) and USSG
§1B1.10). Previously, the court determined the defendant’s guideline range to be from 37
to 46 months imprisonment,1 and the court sentenced the defendant to 37 months
imprisonment on count 1 of the indictment.2 The defendant’s amended guideline range is
from 30 to 37 months imprisonment. Having reviewed the defendant’s file, the provisions
and commentary of USSG §1B1.10, the factors set forth in 18 U.S.C. § 3553(a), the nature
and seriousness of the danger to any person or community that may be posed by a reduction


       1
         Before reaching the guideline range of 37 to 46 months imprisonment, the court,
among other things, relied on 18 U.S.C. § 3553(f) and USSG §5C1.2(a) to disregard the
statutory minimum sentence.
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        Count 1 charged the defendant under 21 U.S.C. § 841(a)(1), 21 U.S.C. §
841(b)(1)(B) and 21 U.S.C. § 846.

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in the defendant’s term of imprisonment and the defendant’s post-sentencing conduct, the
court preliminarily deems it appropriate to exercise its discretion and grant the defendant the
maximum reduction permitted under 18 U.S.C. § 3582(c)(2) and USSG §1B1.10. The
maximum reduction results in a new term of 30 months imprisonment on count 1 of the
indictment.3 Apart from the committed portion of the defendant’s sentence, all of the other
previously imposed terms and conditions remain the same; the duration and conditions of the
defendant’s supervised release remain unchanged.
       The parties are hereby notified that they have 20 days from the date of this order to
file written objections to this proposed reduction to the defendant’s sentence. If either party
desires a hearing, the party must make a request in writing within 20 days from the date of
this order. The party requesting a hearing must outline the issue(s) that the party believes
should be addressed by the court. The defendant is further notified that she may file a motion
for appointment of counsel within 20 days from the date of this order. If the defendant
deems it appropriate to ask for counsel, the defendant should send her motion for
appointment of counsel to the following address:
              U.S. District Court for the Northern District of Iowa
              101 First Street SE
              Cedar Rapids, IA 52401
The defendant’s motion for appointment of counsel should be accompanied with a financial
affidavit. The defendant should also utilize such address if she deems it appropriate to file
an objection regarding the court’s decision to reduce her sentence without a hearing.
       If no objection from either party is filed within the 20 day period established by the
court, an order will be filed that makes final the new term of imprisonment.
       The Clerk of Court is directed to send a copy of this order to the United States, the
defendant and the Federal Public Defender. The Clerk of Court is also directed to send the
defendant a CJA 23 form, that is, the financial affidavit form.

       3
        In the event that the court incorrectly determined that Booker, 543 U.S. at 220, does
not apply to proceedings under 18 U.S.C. § 3582(c)(2), the court notes that it would impose
the same term of imprisonment.

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  IT IS SO ORDERED.
  DATED this 22nd day of April, 2008.




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